            Case 3:25-cv-05175-DGE           Document 14         Filed 04/10/25       Page 1 of 10




 1                                                                     The Honorable David G. Estudillo

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT TACOMA
 9   FREDERICK O. SILVER,                                  Case No. 3:25-cv-05175-DGE
10                      Plaintiff,                         DEFENDANT CAPITAL ONE, N.A.’S
11                                                         MOTION TO DISMISS PLAINTIFF’S
            v.                                             COMPLAINT FOR FAILURE TO
12   CAPITAL ONE SERVICES, LLC,                            STATE A CLAIM

13                      Defendant.                         NOTE ON MOTION CALENDAR:
                                                           May 8, 2025
14

15
            Defendant Capital One, N.A., erroneously named as “Capital One Services, LLC,”
16
     (hereinafter, “Capital One”) hereby submits this Motion to Dismiss (“Motion”) the Complaint
17
     filed by plaintiff Frederick O. Silver (“Plaintiff”) pursuant to Fed. R. Civ. P. 12(b)(6).
18
                                           I. INTRODUCTION
19
            The instant action is Plaintiff’s fourth attempt to litigate claims involving a Capital One
20
     credit card account opened in 2012. In the current Complaint, like those Plaintiff filed in the
21
     United States District Courts of Utah and Minnesota – each of which have been dismissed –
22
     Plaintiff alleges that Capital One violated the federal Fair Credit Reporting Act, codified at 15
23
     U.S.C. §§ 1681 et seq. (“FCRA”) in connection with the subject account. A prior action filed in
24
     the United States District Court in Virginia purported to allege a claim for fair debt collection
25
     violations on the Capital One account (that action was dismissed as well).
26

     DEFENDANT’S MOTION TO DISMISS
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 1            In order to plead a claim for violation of the FCRA, Plaintiff must allege (1) that Capital

 2   One furnished inaccurate information to a consumer reporting agency (or “CRA”), (2) that

 3   Plaintiff submitted a dispute regarding the inaccurate information to a CRA, (3) that, in turn, the

 4   CRA contacted Capital One regarding the dispute, and (4) that Capital One failed to conduct a

 5   reasonable investigation in response to that dispute.

 6            Here, Plaintiff’s Complaint fails to allege the required elements. Indeed, there are no

 7   allegations at all regarding the initiation of a dispute to the CRAs, notification to Capital One, or

 8   a failure by Capital One to reasonably investigate.

 9            As a result, and given that this is Plaintiff’s fourth action filed in connection with the
10   account, Capital One respectfully requests that the Complaint be dismissed with prejudice and
11   without further leave to amend.
12                   II. SUMMARY OF FACTUAL AND PROCEDURAL HISTORY 1
13            By his Complaint, Plaintiff alleges that Capital One is a furnisher of credit information
14   for purposes of the FCRA. Compl., ¶ 2. Plaintiff alleges that he is a consumer for purposes of
15   the FCRA and a resident of Pierce County, Washington. Compl., ¶ 1.
16            Plaintiff alleges that he has “been denied credit serval [sic] times.” Compl., ¶ 8. He
17   further alleges that he opened a credit monitoring account through Equifax, Experian and
18   TransUnion, which showed a Capital One account beginning with the numbers 51780593 that
19   was “written off and/or open accounts, Collection / Charge-Off with Defendants.” Compl., ¶ 8.
20   While the body of the Complaint alleges that the Account was said to have been opened “around
21   07/18/2019,” Exhibit A to the Complaint reflects the Account was opened on July 18, 2012, and
22   that the last payment was in 2019. Compl., Ex. A. Plaintiff contends that he “sent a full
23   payment on the account to defendants or about Nov of 2019 and the payment was never updated
24   on the account.” Compl., ¶ 10.
25

26
     1
      Capital One accepts the allegations in the Complaint as true for the purposes of this motion only.
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 1            The Complaint is silent as to whether Plaintiff initiated any dispute of the Account

 2   through either a CRA, or directly through Capital One.

 3            Plaintiff claims that, as a result of the alleged inaccurate reporting, he has suffered actual

 4   damages and that his “credit score has dropped substantially, thereby causing the Plaintiff to

 5   refrain from applying for additional credit.” Compl., ¶¶ 12-20. Plaintiff contends that, aside

 6   from the Capital One account, he has “an excellent credit history.” Compl., ¶ 16.

 7            In October 2019, Plaintiff filed an action in the United States District Court, Eastern

 8   District of Virginia, Case No. 1:19-cv-01361-TSE-IDD, alleging violations of the Fair Debt

 9   Collection Practices Act in connection with a Capital One account opened sometime prior to

10   June 2015. Plaintiff identifies the account number with the last eight numbers (-3825-4866) as

11   opposed to the first six. See Case No. 1:19-cv-01361-TSE-IDD, Dkt. No. 1 (Complaint), ¶¶ 13-

12   16. 2 The Court dismissed the action with prejudice sua sponte in December 2019. See Id., Dkt.

13   No. 7.

14            On March 1, 2022, Plaintiff filed an action in the United States District Court, District of

15   Utah, Case No. 2:22-cv-00140-CMR, alleging violations of the FCRA in connection with a

16   Capital One account opened July 18, 2012, beginning with account number 517805. See Case

17   No. 2:22-cv-00140-CMR, Dkt. No. 5 (Complaint), ¶ 10. There, as in the current action, Plaintiff

18   alleged that he “sent a full payment on the account to defendant and the payment was not

19   updated on the account.” Id., ¶ 11. After motion practice, the Court dismissed the action without

20   prejudice upon Plaintiff’s request. See Id., Dkt. No. 86 (April 17, 2023 Notice confirming

21   dismissal).

22

23
     2
       The Court “may take judicial notice of pleadings filed in other actions.” Bogart v. Daley, No. CV 00-
24   101-BR, 2001 WL 34045761, at *2 (D. Or. June 28, 2001) (citing Fed. R. Evid. 201(b)); see also
     Burbank–Glendale–Pasadena Airport Authority v. City of Burbank, 136 F.3d 1360, 1364 (9th Cir.) (court
25   taking judicial notice of pleadings filed in a related state court action), cert. denied, 525 U.S. 873 (1998).
     “The existence and content of opinions and pleadings are matters capable of accurate and ready
26   determination by resort to official court files that cannot reasonably be questioned.” Bogart, 2001 WL
     34045761, at *2.
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 1          On July 22, 2024, Plaintiff filed an action in the United States District Court, District of

 2   Minnesota, Case No. 1:24-cv-02889-NEB-ECW, again alleging violations of the FCRA in

 3   connection with a Capital One account opened “around 07/18/2012.” See Case No. 1:24-cv-

 4   02889-NEB-ECW, Dkt. No. 1 (Complaint), ¶¶ 7-10. The Court dismissed the action without

 5   prejudice on or about November 20, 2024 sua sponte, finding in part that Plaintiff had not

 6   properly alleged venue and also noting that Plaintiff had been declared a vexatious litigant in the

 7   Western District of Texas, as well as in two other actions, including one in the Western District

 8   of Washington in 2022 (Silver v. Dystrup-Chiang, Case No. 2:20-cv-01339-RAJ). See Id., Dkt.

 9   No. 8 (Order re Dismissal).

10                                      III.    LEGAL STANDARD

11          To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), “a

12   complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

13   plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S.

14   at 570). This plausibility standard requires that Plaintiff “plead[] factual content [that] allows the

15   court to draw the reasonable inference that the defendant is liable for the misconduct alleged,”

16   and “asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.

17          The Court must accept all well-plead factual allegations as true, and must construe and

18   draw all reasonable inferences from them in favor of the nonmoving party. Daniels-Hall v. Nat'l

19   Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010). However, in spite of the deference the Court is

20   bound to pay to the plaintiff’s allegations, it is not proper for the Court to assume that “the

21   [plaintiff] can prove facts which [he or she] has not alleged.” Associated General Contractors of

22   California, Inc. v. California State Council of Carpenters, 459 U.S. 519, 526 (1983). “Although

23   a court considering a motion to dismiss must accept all of the factual allegations in the complaint

24   as true, the court is not required to accept as true a legal conclusion presented as a factual

25   allegation.” McCann v. Quality Loan Serv. Corp., 729 F. Supp. 2d 1238, 1240 (W.D. Wash.

26   2010) (citing Ashcroft, 556 U.S. at 678; and Twombly, 550 U.S. at 556). Indeed, a court is not

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 1   required to credit conclusory legal allegations cast in the form of factual allegations, unwarranted

 2   deductions of fact, or unreasonable inferences. Sprewell v. Golden State Warriors, 266 F.3d 979,

 3   988 (9th Cir. 2001). In other words, a Rule 12(b)(6) dismissal is proper where there is either a

 4   “lack of a cognizable legal theory” or “the absence of sufficient facts alleged under a cognizable

 5   legal theory.” Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1988).

 6          The case law on this standard is well established. See, e.g., Eclectic Properties E., LLC v.

 7   Marcus & Millichap Co., 751 F.3d 990, 995-97 (9th Cir. 2014) (“Although a well-pleaded

 8   complaint may proceed even if it strikes a savvy judge that actual proof is improbable, plaintiffs

 9   must include sufficient factual enhancement to cross the line between possibility and

10   plausibility.” (internal quotations and citations omitted)); Starr v. Baca, 652 F.3d 1202, 1216

11   (9th Cir. 2011) (describing common principles of pleading derived from Iqbal and Twombly

12   applying them to civil rights complaint); Moss v. U.S. Secret Serv., 572 F.3d 962, 971-72 (9th

13   Cir. 2009) (“The factual content contained within the complaint does not allow us to reasonably

14   infer that the Agents ordered the relocation of Plaintiffs’ demonstration because of its anti-Bush

15   message, and it therefore fails to satisfy Twombly and Iqbal.”). “It is not enough for a complaint

16   to plead facts that are merely consistent with a defendant’s liability.” McCann, 729 F. Supp. 2d

17   at 1240 (citing Iqbal, 556 U.S. at 678; and Twombly, 550 U.S. at 557) (internal quotes omitted).

18   “Rather, a claim has facial plausibility when the plaintiff pleads factual content that allows the

19   court to draw the reasonable inference that the defendant is liable for the misconduct

20   alleged.” Id. “The plausibility standard is not akin to a probability requirement, but it asks for

21   more than a sheer possibility that a defendant has acted unlawfully.” Id.

22          Additionally, Plaintiff must fully comply with the Federal Rules of Civil Procedure and

23   the local rules of this Court despite his pro se status. Copeland v. City of Camas, No. C19-5935-

24   BHS-MLP, 2019 WL 7811332, at *1 (W.D. Wash. Dec. 6, 2019), report and recommendation

25   adopted, No. C19-5935 BHS, 2020 WL 488644 (W.D. Wash. Jan. 30, 2020) (“Although

26   Plaintiff’s pro se pleadings are held to a less stringent standard than formal pleadings drafted by

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 1   lawyers, he still must meet the requirements of the rules.”).

 2     IV.        PLAINTIFF FAILS TO STATE A CLAIM FOR VIOLATION OF THE FCRA

 3           The FCRA is a comprehensive statutory structure meant to regulate all aspects of credit

 4   reporting. See generally 15 U.S.C. § 1681 et seq. The FCRA provides a private right of action

 5   for consumers for certain (but not all) violations of the statute against credit report users,

 6   “furnishers” of information and credit reporting agencies (“CRAs”). See 15 U.S.C. §§ 1681 et

 7   seq. As Plaintiff alleges, Capital One is a “furnisher” of information under the FCRA. Compl.,

 8   ¶ 2. In that regard, Capital One furnishes credit information to consumer reporting agencies. See

 9   e.g. 15 U.S.C. § 1681s-2. By his single claim in the Complaint (“Count 1”), Plaintiff alleges that

10   Capital One violation multiple sections of the FCRA. Plaintiff fails to state a claim against

11   Capital One for violations of section 1681s-2(a), because there is no private right of action

12   against a data furnisher. Furthermore, Plaintiff fails to state a claim against Capital One for

13   violation of section 1681s-2(b) because Plaintiff has not alleged that any dispute was

14   communicated to Capital One by the CRAs.

15           A.     Plaintiff cannot pursue claims under Section 1681s-2(a) because that provision
                    does not authorize a private right of action
16
             The allegations in “Count 1” of Plaintiff’s Complaint predominantly reference purported
17
     violations of Section 1681s-2(a). Plaintiff cannot state a claim under any of these sections.
18
             Section 1681s-2(a) of the FCRA prohibits furnishers from reporting information “with
19
     actual knowledge of errors” or “after notice and confirmation of errors” [15 U.S.C. section
20
     1681s-2(a)(1)(A)-(B)] and creates a duty to correct and update information that it determines is
21
     not complete or accurate (id. Section 1681s-2(a)(2)(A)-(B)). In the Complaint, Plaintiff alleges
22
     that Capital One violated the following subsections 1681s-2(a): (1) 15 U.S.C. §1681s-2(a)(1)(A)
23
     for “[r]eporting information with actual knowledge of errors” [Compl., ¶ 29]; (2) 15 U.S.C.
24
     §1681s-2(a)(2)(B) for “[f]ailing to correct and update information” [Compl., ¶ 30]; (3) 15 U.S.C.
25
     §1681s- 2(a)(3) for “[f]ailing to provide notice of dispute” [Compl., ¶ 31]; and (4) 15 U.S.C.
26

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 1   § 1681s-2(a)(8) for “[f]ailing to investigate with respect to disputed information in violation of”

 2   [Compl., ¶ 32].

 3           These claims fail as a matter of law, because there is no private right of action for

 4   violations of section 1681s-2(a). See 15 U.S.C. § 1681s-2; Nelson v. Chase Manhattan Mortg.

 5   Corp., 282 F.3d 1057, 1060 (9th Cir. 2002) (“Congress limited the enforcement of duties

 6   imposed by § 1681s-2(a) to governmental bodies.”); Corby v. Am. Exp. Co., CV 10-05575 ODW

 7   JCX, 2011 WL 4625719 (C.D. Cal. Oct. 5, 2011) (“It is well-settled, however, that there is no

 8   private right of action for violations of § 1681s–2(a)”); Sui v. Southside Towing, SACV 10-

 9   01973 JAK, 2011 WL 2940990 (C.D. Cal. July 18, 2011) (“No private right of action exists to

10   enforce the obligations imposed on furnishers of information under subsection (a).”). Indeed, the

11   FCRA expressly limits a furnisher’s civil liability. 15 U.S.C. § 1681s-2(c) (“[S]ections 1681n

12   and 1681o of this title [which provide for private rights of action] do not apply to any violation

13   of…subsection (a) of this section, including any regulations issued thereunder); 15 U.S.C.

14   § 1681s-2(d) (the provisions without a private right of action “shall be enforced exclusively as

15   provided under section 1681s of this title by the Federal agencies and officials and the State

16   officials identified in section 1681s of this title”).

17           Accordingly, to the extent Plaintiff’s Count 1 is based on purported violations of 15

18   U.S.C. §1681s-2(a) of the FCRA, it fails as a matter of law.

19           B.    The Section 1681s-2(b) claim fails because Plaintiff fails to allege the required
                   elements
20
             Unlike section 1681s-2(a), section 1681s-2(b) does provide consumers with a private
21
     right of action. See Nelson, 282 F.3d at 1060. Under 15 U.S.C. § 1681s-2(b) of the FCRA
22
     (“section 1681s-2”), furnishers “who receive notice that a consumer disputes information on a
23
     credit report [are required] to conduct an investigation, report the results of the investigation to
24
     the CRA, and, if the information is found to be inaccurate or incomplete, to make appropriate
25

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 1   corrections.” Giovanni v. Bank of Am., Nat. Ass’n, No. C 12-02530 LB, 2013 WL 1663335, at *5

 2   (N.D. Cal. Apr. 17, 2013). Plaintiff, however, fails to state a claim under this section.

 3           To establish an FCRA claim under § 1681s–2(b) against a furnisher of information, such

 4   as Capital One, Plaintiff must demonstrate that (1) he found an inaccuracy in his credit report;

 5   (2) he notified a CRA of the alleged inaccuracy; (3) the CRA notified the furnisher of the

 6   dispute; and (4) the furnisher failed to investigate the dispute. See King v. PennyMac Loan

 7   Servs., LLC, 2024 U.S. Dist. LEXIS 84023, at *5 (E.D. Wash. May 8, 2024, No. 4:24-CV-

 8   05002-MKD) (granting motion to dismiss where plaintiff failed to allege that CRA notified

 9   furnisher of dispute). A furnisher’s duties under Section 1681s-2(b) are only triggered when a

10   person who furnished information to a CRA receives notice from the CRA that the consumer

11   disputes the information. Gorman v. Wolpoff & Abramson, LLP (9th Cir. 2009) 584 F.3d 1147,

12   1154.

13           Here, Plaintiff’s Count 1 fails to state a claim under Section 1681s-2(b), because there are

14   no allegations that (1) Plaintiff submitted a dispute regarding the allegedly inaccurate

15   information to a CRA, (2) that the CRA, in turn, notified Capital One, and (3) that Capital One

16   failed to conduct a reasonable investigation in response to that dispute. On the contrary, Plaintiff

17   only alleges that Capital One “[w]illfully and negligently fail[ed] to comply with the

18   requirements imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2(b).”

19   Compl., ¶ 27.

20           Accordingly, Plaintiff has not stated a claim under subsection 2(b).

21   ///

22   ///

23   ///

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 1                                         V. CONCLUSION

 2          As set forth above, Plaintiff’s claims arising under the FCRA do not survive the initial

 3   pleading threshold under Rule 12(b)(6). Accordingly, Capital One respectfully requests that the

 4   Court dismiss the Complaint in its entirety and with prejudice.

 5          DATED this 10th day of April, 2025.

 6                                                 MILLER NASH LLP
 7
                                                   s/ Jesús Miguel Palomares
 8                                                 Jesús Miguel Palomares, WASB No. 51858
                                                   jesus.palomares@millernash.com
 9                                                 605 5th Ave. S., Suite 900
                                                   Seattle, WA 98104
10                                                 Telephone: 503.224.5858 / 206.624.8300
                                                   Facsimile: 503.224.0155 / 206.340.9599
11
                                                   Attorneys for Defendant
12                                                 Capital One, N.A. (erroneously sued as “Capital
                                                   One Services, LLC”)
13
                                                   I certify that this memorandum contains 2,477
14                                                 words, in compliance with the Local Civil
                                                   Rules.
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 1                                   DECLARATION OF SERVICE

 2            The undersigned declares that on April 10, 2025, a copy of the foregoing document was

 3   electronically filed with the Clerk of the Court via CM/ECF and served on the following party at

 4   the address and via the method(s) listed below.

 5    Frederick O. Silver
      21905 Mountain Hwy E                                 ☒ U.S. Mail, Postage Prepaid
 6    Unit 4143                                            ☐ Hand Delivered via Legal Messenger
      Spanaway, WA 98387-7583
 7                                                         ☐ Overnight Mail
      Plaintiff, Pro Se
 8                                                         ☐ Facsimile Transmission
 9                                                         ☒ Email: asclv1@gmail.com
10                                                         ☒ E-service via CM/ECF

11           I declare under penalty of perjury under the laws of the United States that the foregoing is

12   true and correct.

13           EXECUTED at Arlington, Washington this 10th day of April, 2025.

14
                                                           s/Edgar Y. Rosales
15   4931-4580-7924.1                                      Edgar Y. Rosales, Paralegal

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